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16
                           UNITED STATES DISTRICT COURT
17                       CENTRAL DISTRICT OF CALIFORNIA
18                                 WESTERN DIVISION
19 Consumer Financial Protection        Case No. 2:15-cv-9692-PSG(Ex)
20 Bureau,
                                        Honorable Philip S. Gutierrez
21
     Plaintiff,                         DECLARATION IN SUPPORT OF
22                                      PLAINTIFF’S OPPOSITION TO MOTION
     v.                                 FOR CERTIFICATION OF
23
                                        INTERLOCUTORY APPEAL AND STAY
24 D and D Marketing, Inc., d/b/a
   T3Leads, et al.,                     Hearing Date & Time: March 27, 2017; 1:30
25                                      p.m.
26 Defendants.                          Courtroom 6A, 350 West 1st Street, 6th Floor,
27                                      Los Angeles, California 90012

28

           DECLARATION IN SUPPORT OF PL’S OPPOSITION TO MOTION FOR CERTIFICATION OF
                              INTERLOCUTORY APPEAL AND STAY
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 1 I, Barry E. Reiferson, under 28 U.S.C. § 1746, declare as follows:
 2        1.     I am an attorney licensed to practice law in the State of New York and
 3 am employed by the Consumer Financial Protection Bureau (CFPB or Bureau) as an
 4 Attorney-Advisor in the Office of Enforcement.
 5        2.     I am admitted pro hac vice in this case as counsel for plaintiff CFPB.
 6        3.     I submit this declaration in support of the Bureau’s opposition to the
 7 defendants’ motions for certification of interlocutory appeal and a concomitant stay
 8 filed in three related cases: CFPB v. D and D Marketing, Inc., d/b/a T3Leads, et al.
 9 [hereinafter T3], 2:15-cv-9692-PSG(Ex), ECF No. 69; CFPB v. Dmitry Fomichev,
10 2:16-cv-2724-PSG(Ex), ECF No. 47; CFPB v. Davit Gasparyan, 2:16-cv-2724-
11 PSG(Ex), ECF No. 61.
12        4.     I have personal knowledge of the facts stated herein and am competent
13 and authorized to make this Declaration.
14        5.     On October 27, 2016, the Bureau requested that all defendants in these
15 three related cases agree to participate in a Rule 26(f) conference and agree to
16 consolidation of the three cases. The T3 defendants (D and D Marketing, Inc.; Grigor
17 Demirchyan, and Marina Demirchyan) and Fomichev refused the request outright,
18 stating that a “Rule 26(f) conference, discovery and consolidation [was]
19 premature … given the motions to dismiss pending before the Court.” Gasparyan
20 stated first that he would likely refuse the request, but soon agreed in principle to a
21 joint Rule 26(f) conference with the other defendants later in 2016. Gasparyan and
22 the other defendants failed to schedule a Rule 26(f) conference or agree to
23 consolidation in 2016. On December 21, 2016, after numerous unreturned telephone
24 calls and emails to Gasparyan’s counsel on the subject, Gasparyan’s counsel advised
25 the Bureau that Gasparyan was substituting new counsel to whom all
26 communications should be directed.
27        6.     On November 22, 2016, the Bureau requested the T3 Defendants’ and
28 Fomichev’s participation in a Rule 26(f) conference and reconsideration of
                                             1
           DECLARATION IN SUPPORT OF PL’S OPPOSITION TO MOTION FOR CERTIFICATION OF
                              INTERLOCUTORY APPEAL AND STAY
Case 2:15-cv-09692-PSG-E Document 73-1 Filed 03/06/17 Page 3 of 3 Page ID #:496



 1 consolidation of the related cases. They refused the request, stating that consolidation
 2 and a Rule 26(f) conference were still “premature.”
 3        7.    On December 22, 2016, the Bureau requested the T3 Defendants’ and
 4 Fomichev’s participation in a Rule 26(f) conference. They refused the request,
 5 stating that a Rule 26(f) conference was still premature.
 6        8.    On January 13, 2017, the Bureau asked the T3 Defendants to agree to
 7 participate in a Rule 26(f) conference in February 2017, as no motion to compel
 8 participation could be heard significantly in advance of the latest possible Rule 26(f)
 9 conference deadline. The T3 Defendants agreed in principle to participate in a Rule
10 26(f) conference on February 27, 2017, but no earlier.
11        9.    In January 2017, Fomichev agreed to participate in a Rule 26(f)
12 conference by February 27, 2017. Similarly, Gasparyan agreed in January 2017 to a
13 joint Rule 26(f) conference to take place on February 27, 2017.
14        10.   After agreeing to participate in a joint Rule 26(f) conference only on the
15 last possible date, February 27, 2017, T3, the Demirchyans, and Gasparyan withdrew
16 from that participation immediately upon the Court’s continuance of the T3
17 scheduling conference.
18
19 I declare under penalty of perjury under the laws of the United States of America that
20 the foregoing is true and correct.
21 Executed on March 6, 2017, in New York, New York.
22
23                                CONSUMER FINANCIAL PROTECTION BUREAU
24                                By: /s/ Barry Reiferson
                                      Barry E. Reiferson
25                                    Attorney-Advisor, Office of Enforcement
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          DECLARATION IN SUPPORT OF PL’S OPPOSITION TO MOTION FOR CERTIFICATION OF
                             INTERLOCUTORY APPEAL AND STAY
